               Case 2:10-cv-01302-LS Document 191 Filed 11/21/18 Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ANNE HUMPHREYS, on behalf of herself               :   CASE NO. 10-cv-1302-LS
 and all others similarly situated,                 :
                                                    :
                           Plaintiff,               :
                                                    :   JURY TRIAL DEMANDED
                   v.                               :
                                                    :
 BUDGET RENT A CAR SYSTEM, INC.,                    :
 and VIKING COLLECTION SERVICE,                     :   ELECTRONICALLY FILED
 INC.,                                              :
                                                    :
                           Defendants.              :
                                                    :

               STIPULATION OF DISMISSAL PURSUANT TO FED. R. CIV. P. 41


         Defendant, Budget Rent A Car System, Inc., and Plaintiff, Anne Humphreys, having

resolved this action to their mutual satisfaction, hereby stipulate pursuant to Rule 41(a)(1)(A)(ii),

to the dismissal of all claims and counterclaims with prejudice and without costs to any party as

against the others in the above-captioned matter.


Dated: November 21, 2018

 So stipulated, and respectfully                    So stipulated, and respectfully submitted,
 submitted,

 /s/Todd   Collins                                  /s/Bridget   E. Montgomery
 Todd Collins, Esquire                              Bridget E. Montgomery, Esquire (PA 56105)
 Arthur Stock, Esquire                              Adam M. Shienvold, Esquire (PA 81941)
 Shoshana Savett, Esquire                           ECKERT SEAMANS CHERIN & MELLOTT
 BERGER & MONTAGUE, P.C.                            213 Market Street, 8th Floor
 1818 Market Street, Suite 3600                     Harrisburg, PA 17101
 Philadelphia, PA 19103                             Telephone:     717.237.6000
 Telephone:     215.875.3040                        Facsimile:     717.237.6019
 Facsimile:     215.875.4604                        Email:     bmontgomery@eckertseamans.com
                                                               ashienvold@eckertseamans.com




{L0787365.1}
               Case 2:10-cv-01302-LS Document 191 Filed 11/21/18 Page 2 of 2




 Ann Miller, Esquire                         Carol L. Press, Esquire (PA 45462)
 Ann Miller, LLC                             ECKERT SEAMANS CHERIN & MELLOTT
 1657 The Fairway # 132                      Two Liberty Place
 Jenkintown, PA 19046                        50 S. 16th Street, 22nd Floor
 am@attorneyannmiller.com                    Philadelphia, PA 19102
                                             Telephone:      215.851.8439
 Daniel Harris, Esquire                      Facsimile:      215.851.8383
 LAW OFFICES OF DANIEL HARRIS                Email:          cpress@eckertseamans.com
 150 N. Wacker Drive, Suite 3000
 Chicago, IL 60606
 lawofficedh@yahoo.com

 Attorneys for Plaintiff                     Attorneys for Defendant, Budget Rent A
                                             Car System, Inc.



                                             IT IS SO ORDERED.



Dated: _______________________, 2018
                                                                                      J.




{L0787365.1}
